         Case 1:21-cv-00421-N/A Document 17              Filed 11/28/23     Page 1 of 2

                                                                                         FORM 7
                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: UNASSIGNED
________________________________________________x
POSCO INTERNATIONAL AMERICA CORP.               :
                                                :
                        Plaintiff,              :
                                                :
            v.                                  :
                                                :                           Court No. 21-00421
UNITED STATES,                                  :
                                                :
                        Defendant.              :
________________________________________________x


                                   NOTICE OF DISMISSAL

PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses the action(s) listed on the
attached schedule.



Dated:    November 28, 2023                          __/s/ William F. Marshall
                                                     WILLIAM F. MARSHALL
                                                     GRUNFELD, DESIDERIO, LEBOWITZ,
                                                     SILVERMAN, & KLESTADT, LLP
                                                     599 Lexington Ave., 36th Floor
                                                     New York, New York 10022
                                                     (212) 557-4000
                                                     wmarshall@gdlsk.com
                                                     Counsel for Plaintiff
             Case 1:21-cv-00421-N/A Document 17          Filed 11/28/23    Page 2 of 2



                                Schedule to Notice of Dismissal


    Court Number(s)           Plaintiff(s) Name          Protest Number(s)         Entry Number(s)
                                                        or Claim Number(s)          (if applicable)
                                                           (if applicable)

                             Posco International          2704-21-152797           AZE-0103121-5
  Court No. 21-00421           America Corp.




                                       Order of Dismissal

       The actions listed on the schedule set forth above, having been voluntarily noticed for
dismissal by plaintiff, are dismissed.

         November 28, 2023
Dated: _____________________
                                             Clerk, U. S. Court of International Trade


                                                         /s/ Lewis Hugh
                                             By: ________________________________
                                                          Deputy Clerk




12484321_1                                        2
